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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                         Case No. 08-21158-CR-JORDAN/O’SULLIVAN

  UNITED STATES OF AMERICA,
       Plaintiff,

  v.

  JOEL STEINGER, et al.,
       Defendants.
  __________________________/

                                          ORDER

         THE UNDERSIGNED MAGISTRATE JUDGE to whom the above-styled case

  has been assigned, hereby certifies the above matter is ready for reassignment and

  directs the Clerk’s Office to reassign this case to the newly paired Magistrate Judge

  pursuant to Administrative Orders 2010-145 and 2011-18.

         DONE AND ORDERED, in Chambers, at Miami, Florida, this 28th day of

  October, 2011.

                                           _______________________________
                                           JOHN J. O’SULLIVAN
                                           UNITED STATES MAGISTRATE JUDGE
  Copies provided to:
  U.S. District Judge Jordan
  U.S. Magistrate Judge Bandstra
  All Counsel of Record
